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11                            UNITED STATES DISTRICT COURT
12
                             CENTRAL DISTRICT OF CALIFORNIA

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                                                    Case No. CR No. 17-00661 (A) – DMG
14
     United States of America,
                                                    [Assigned to Hon. Dolly M. Gee, District
15                              Plaintiff,          Court Judge]
16
           v.                                       DEFENDANT JULIAN OMIDI’S
17
                                                    TRIAL MEMORANDUM
18
     Julian Omidi, et al.,                          CONCERNING THE SCOPE OF
                                Defendants.         CROSS-EXAMINATION
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      DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING THE SCOPE OF
                               CROSS EXAMINATION
                                   Case No. CR No. 17-00661 (A) - DMG
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28    - 2 -DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING EXHIBITS
                       OFFERED FOR STATE OF MIND PURPOSES
                               Case No. CR No. 17-00661 (A) - DMG
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 1         This Court’s standing criminal trial order states that “short briefs” concerning
 2   any “evidentiary issues” that may arise are “welcome,” as the Court discourages
 3   sidebars to discuss issues that could have been raised outside the presence of the jury.
 4   Defendant Julian Omidi, by and through his counsel, respectfully submits this brief
 5   trial memorandum, addressing anticipated objections from the Government
 6   concerning the scope of cross examination. In sum, if the Government insists on
 7   pressing scope objections during this trial, they will not only confuse the jury, but
 8   they will require the defense to recall many of the defense witnesses in the defense
 9   case, as is its right. This would be a pointless waste of time for the Court, the
10   witnesses, and the jury. The Court should reject this approach.
11   I.   THE COURT SHOULD NOT LIMIT THE SCOPE OF CROSS
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          EXAMINATION TO ONLY THOSE TOPICS SPECIFICALLY
          ELICITED DURING A WITNESS’S DIRECT TESTIMONY.
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14          “Federal Rule of Evidence 611(b) commits the scope of cross-examination to
15   the trial judge’s discretion.” United States v. Vasquez, 858 F.2d 1387, 1392 (9th
16   Cir. 1988). Specifically, Rule 611(b) provides that “[c]ross-examination should be
17   limited to the subject matter of the direct examination and matters affecting the
18   credibility of the witness,” but also that the Court “may, in the exercise of
19   discretion, permit inquiry into additional matters as if on direct examination.”
20         Courts construe the “subject matter of the direct examination” liberally, such
21   that “[t]he trial court may permit cross-examination as to all matters reasonably
22   related to the issues put in dispute by a witness’s testimony on direct.” United
23   States v. Arias-Villanueva, 998 F.2d 1491, 1508 (9th Cir. 1993) (quotations and
24   alterations omitted); see also United States v. Arnott, 704 F.2d 322, 324 (6th Cir.
25   1983) (“The ‘subject matter of the direct examination,’ within the meaning of Rule
26   611(b), has been liberally construed to include all inferences and implications
27   arising from such testimony.”). Accordingly, courts should only consider cross-
28   examination to be outside the scope of a witness’s direct examination if “the logical
      DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING THE SCOPE OF
                               CROSS EXAMINATION
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     connections between the direct examination and proposed cross-examination are so
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     attenuated as to risk confusing the jury.” Wright & Miller, 28 Fed. Prac. & Proc.
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     Evid. § 6163 (2d ed.). Here, it is unlikely that the defense will pursue a line of cross
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     examination that is so attenuated. As such, the defense should be permitted to
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     conduct cross examination regarding topics that necessarily overlap with those
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     about which the witnesses testify on direct.
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           Even where a court determines that cross examination does fall outside the
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     scope of a witness’s cross examination, however, Rule 611 confers discretion to
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     nevertheless permit further inquiry, which discretion should be exercised so long as
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     “the danger of permitting the cross-examination clearly outweighs the cost of
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     precluding it.” Id. The reason courts are afforded such discretion is that the
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     restriction of examination to only those topics that are subject of direct examination
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     and affect the witness’s credibility “can have significant costs while producing
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     minimal benefits.” Id. Specifically, the limitation on the scope of cross
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     examination in the first sentence of Rule 611(b) “can lead to objections which are
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     time-consuming, difficult to resolve, and may themselves cause confusion.” Id.
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     This is particularly so where the cross examiner must recall the witness in order to
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     elicit testimony that is precluded as outside the scope of cross examination. In those
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     circumstances, “more time may be consumed during [the witness’s] two sessions on
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     the stand than would have been expended in a single comprehensive section.” Id.
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           These concerns regarding judicial economy are present here, where the
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     defense has disclosed as potential defense witnesses all 45 of the witnesses the
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     government intends to call. To require the defense to re-call each of these witnesses
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     during the defense’s case-in-chief, rather than allowing the defense to elicit
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     pertinent testimony during the witness’s cross examination, would cause undue
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     delay and place unnecessary burden on the Court, the parties, the jurors, and the
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     witnesses themselves. See Notes of Advisory Committee, Fed R. Evid. 611(b)
28
      DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING THE SCOPE OF
                               CROSS EXAMINATION
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     (“The foregoing considerations favoring the wide-open or restrictive rules may well
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     be thought to be fairly evenly balanced. There is another factor, however, which
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     seems to swing the balance overwhelmingly in favor of the wide-open rule. This is
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     the consideration of economy of time and energy.”) (quoting McCormick, §27, p.
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     51). Accordingly, the Court should not entertain scope objections that, if granted,
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     would serve no purpose other than causing unnecessary delay.
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 8   II.   CONCLUSION
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           We respectfully request that the Court permit the defense to cross examine the
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     government’s witnesses regarding topics that are relevant to the government’s
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     defense and necessarily overlap with the issues about which the government’s
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     witnesses testify on direct.
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14                                             Respectfully submitted,
     Dated: September 26, 2021
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      DEFENDANT JULIAN OMIDI’S TRIAL MEMORANDUM CONCERNING THE SCOPE OF
                               CROSS EXAMINATION
                                    Case No. CR No. 17-00661 (A) - DMG
